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15                       UNITED STATES DISTRICT COURT
16                            DISTRICT OF NEVADA
17
      Jimmy Eason Jr.,                          Case No.:
18
19                     Plaintiff,               Complaint for damages under the
       v.                                       FCRA, 15 U.S.C. § 1681
20
21    Clarity Services, Inc., 2233 Paradise
      Road, LLC dba Cash Factory USA,
22
      Lac du Flambeau Band of Lake
23    Superior Chippewa Indians dba
24    Ningodwaaswi, LLC dba Sky Trail
      Cash, Lac Vieux Desert Band of Lake
25    Superior Chippewa Indians dba Big
26    Picture Loans, LLC and North Star
      Finance, LLC,
27
                       Defendants.
     _____________________
     COMPLAINT                                -1-
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 1                                       Introduction
 2 1. The United States Congress has found the banking system is dependent upon fair
 3     and accurate credit reporting. Inaccurate credit reports directly impair the
 4     efficiency of the banking system, and unfair credit reporting methods undermine
 5     the public confidence, which is essential to the continued functioning of the
 6     banking system. Congress enacted the Fair Credit Reporting Act, 15 U.S.C. § 1681
 7     et seq. (“FCRA”), to ensure fair and accurate re-porting, promote efficiency in the
 8     banking system, and protect consumer privacy. The FCRA seeks to ensure
 9     consumer reporting agencies exercise their grave responsibilities with fairness,
10     impartiality, and a respect for the consumer’s right to privacy because consumer
11     reporting agencies have assumed such a vital role in assembling and evaluating
12     consumer credit and other information on consumers. The FCRA also imposes
13     duties on the sources that provide credit information to credit reporting agencies,
14     called “furnishers.”
15 2. The FCRA protects consumers through a tightly wound set of procedural
16     protections from the material risk of harms that otherwise flow from inaccurate
17     reporting. Thus, through the FCRA, Congress struck a balance between the credit
18     industry’s desire to base credit decisions on accurate information, and consumers’
19     substantive right to protection from damage to reputation, shame, mortification,
20     and the emotional distress that naturally follows from inaccurate reporting of a
21     consumer’s fidelity to his or her financial obligations.
22 3. Jimmy Eason Jr. (“Plaintiff”), by counsel, brings this action to challenge the
23     actions of Clarity Services, Inc. (“Clarity”), 2233 Paradise Road, LLC dba Cash
24     Factory USA (“Cash Factory”), Lac du Flambeau Band of Lake Superior
25     Chippewa Indians dba Ningodwaaswi, LLC dba Sky Trail Cash (“Sky Trail”), Lac
26     Vieux Desert Band of Lake Superior Chippewa Indians dba Big Picture Loans,
27     LLC (“Big Picture”) and North Star Finance, LLC (“North Star”) (jointly as
       “Defendants”), with regard to erroneous reports of derogatory credit information
     _____________________
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 1      to national reporting agencies and Defendants’ failure to properly investigate
 2      Plaintiff’s disputes.
 3 4. Plaintiff makes these allegations on information and belief, with the exception of
 4      those allegations that pertain to Plaintiff, which Plaintiff alleges on personal
 5      knowledge.
 6 5. While many violations are described below with specificity, this Complaint alleges
 7      violations of the statutes cited in their entirety.
 8 6. Unless otherwise stated, all the conduct engaged in by Defendants took place in
 9      Nevada.
10 7. Any violations by Defendants were knowing, willful, and intentional, and
11      Defendants did not maintain procedures reasonably adapted to avoid any such
12      violations.
13 8. Defendants failed to properly investigate Plaintiff’s disputes, damaging Plaintiff’s
14      creditworthiness.
15                                    Jurisdiction and Venue
16 9.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (federal question
17       jurisdiction); 15 U.S.C. § 1681.
18 10. This action arises out of Defendants' violations of the FCRA.
19 11. Venue is proper in the United States District Court for the District of Nevada
20       pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark County,
21       Nevada and because Defendants are subject to personal jurisdiction in Clark
22       County, Nevada as they conduct business here. Venue is also proper because the
23       conduct giving rise to this action occurred in Nevada. 28 U.S.C. § 1391(b)(2).
24                                             Parties
25 12. Plaintiff is a natural person living in Clark County, Nevada. In addition, Plaintiff
26       is a “consumer” as that term is defined by 15 U.S.C. § 1681a(c).
27 13. Defendants are each a corporation doing business in the State of Nevada.


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 1 14. Cash Factory, Sky Trail, Big Picture, and North Star are furnishers of information
 2       as contemplated by 15 U.S.C. § 1681s-2(b) that regularly and in the ordinary
 3       course of business furnish information to a consumer credit reporting agency. or
 4 15. Clarity regularly assembles and/or evaluates consumer credit information for the
 5       purpose of furnishing consumer reports to third parties and uses interstate
 6       commerce to prepare and/or furnish the reports. This entity is a “consumer
 7       reporting agency” as that term is defined by 15 U.S.C. §1681a(f).
 8 16. Unless otherwise indicated, the use of Defendants’ names in this Complaint
 9       includes all agents, employees, officers, members, directors, heirs, successors,
10       assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
11       the named Defendants.
12                               GENERAL ALLEGATIONS
13                             Re: Bankruptcy Case No. 17-13803
14 17. On or about July 13, 2017, Plaintiff filed for bankruptcy in the United States
15       bankruptcy Court for the District of Nevada pursuant to 11 U.S.C. §1301 et seq.
16       (the “bankruptcy”).
17 18. The obligations to each creditor-furnisher herein (as applicable) were scheduled
18       in the bankruptcy and each respective creditor, or its predecessor in interest,
19       received notice of the bankruptcy.
20 19. Plaintiff’s Chapter 13 Plan was confirmed (the “Confirmed Chapter 13 Plan” or
21       “Confirmation Order”).
22 20. A confirmed plan constitutes a new contract between the debtor and creditors and
23       a creditor's rights are defined by the confirmed plan. Consequently, a pre-petition
24       claim provided for in a confirmed plan is no longer a pre-petition claim. The
25       claim is a right to payment arising from the confirmed plan. Padilla v. Wells
26       Fargo Home Mortg., Inc. (In re Padilla), 379 B.R. 643, 649, 2007 Bankr. LEXIS
27       2655, *1 (Bankr. S.D. Tex. 2007).
     21. Plaintiff made all payments required under the terms of the Confirmed Chapter
      _____________________
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 1       13 plan.
 2 22. None of the creditor-furnishers named herein filed any proceedings to declare
 3       their alleged debts “non-dischargeable” pursuant to 11 U.S.C. § 523 et seq.
 4 23. No creditor-furnisher named herein obtained relief from the “automatic stay”
 5       codified at 11 U.S.C. §362 et seq. while Plaintiff’s bankruptcy was pending to
 6       pursue Plaintiff for any personal liability.
 7 24. Further, while the automatic stay was in effect during the bankruptcy, it was
 8       illegal and inaccurate for any creditor-furnisher named herein to report any post-
 9       bankruptcy derogatory collection information, pursuant to the Orders entered by
10       the bankruptcy Court.
11 25. The accounts named herein (as applicable) were discharged through the
12       bankruptcy on February 9, 2021.
13 26. However, Defendants either reported or caused to be reported inaccurate
14       information as discussed below after Plaintiff’s debts were discharged.
15 27. Additionally, Defendants’ inaccurate reporting did not comply with the
16       Consumer Data Industry Association’s Metro 2 reporting standards, which
17       provides guidance for credit reporting and FCRA compliance.
18 28. The Consumer Data Industry Association (“CDIA”) publishes the Metro 2
19       (“Metro 2”) reporting standards to assist furnishers with their compliance
20       requirements under the FCRA.
21 29. Courts rely on such guidance to determine furnisher liability. See, e.g., In re
22       Helmes, 336 B.R. 105, 107 (Bankr. E.D. Va. 2005) (finding that “industry
23       standards require that a debt discharged in bankruptcy be reported to a credit
24       reporting agency with the notation `Discharged in bankruptcy' and with a zero
25       balance due”).
26 30. On information and belief, Defendants adopted and at all times relevant
27       implemented the Metro 2 format.
     31. On information and belief, each furnisher named herein adopted the Metro 2
      _____________________
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 1       reporting standards and at all times relevant implemented the Metro 2 format as
 2       an integral aspect of their respective duties under the FCRA to have in place
 3       adequate and reasonable policies and procedures to handle investigations of
 4       disputed information.
 5 32. Each furnisher named herein failed to conform to the Metro 2 Format when
 6       reporting on Plaintiff’s accounts after Plaintiff filed bankruptcy as further set
 7       forth below.
 8 33. In turn, the credit reporting agency named herein, reported and re-reported the
 9       inaccurate information, thus violating their duty to follow reasonable procedures
10       to assure maximum possible accuracy under 15 U.S.C. § 1681e(b) when
11       preparing a consumer report.
12 34. To this end, the adverse reporting on Plaintiff’s consumer report departed from
13       the credit industry’s own reporting standards and was not only inaccurate, but
14       also materially misleading under the CDIA’s standards as well.
15 35. A “materially misleading” statement is concerned with omissions to credit
16       entries, that in context create misperceptions about otherwise may be factually
17       accurate data. Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147, 1163 (9th
18       Cir. 2009).
19            Clarity and Cash Factory Misreported Consumer Information
20                       Re: Cash Factory Account No. ****2232
21 36. In Plaintiff’s consumer report from Clarity dated September 9, 2021, Clarity and
22       Cash Factory inaccurately reported that Plaintiff’s account was past due with a
23       charge of status of $1,195. This was inaccurate, misleading, and derogatory
24       because Plaintiff filed for bankruptcy on July 13, 2017, and Plaintiff received a
25       discharge on February 9, 2021.
26 37. On November 1, Plaintiff disputed the inaccurate reporting pursuant to 15 U.S.C.
27       § 1681i, by notifying Clarity, in writing, of the inaccurate, misleading, and
         derogatory information.
      _____________________
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 1 38. Specifically, Plaintiff sent a letter, certified, return receipt, to Clarity, requesting
 2       the above inaccurate information be updated, modified, or corrected.
 3 39. Clarity was required to conduct a reinvestigation into the disputed information
 4       on Plaintiff’s consumer report pursuant to 15 U.S.C. §1681i.
 5 40. Upon information and belief, Clarity timely notified Cash Factory regarding
 6       Plaintiff’s dispute, as required under 15 U.S.C. § 1681i(a)(2).
 7 41. Upon information and belief, Clarity provided Cash Factory with a notice
 8       regarding Plaintiff’s dispute under 15 U.S.C. § 1681i(a)(5)(A).
 9 42. Upon information and belief, Clarity provided all relevant information to Cash
10       Factory regarding Plaintiff’s dispute, as required under 15 U.S.C. § 1681i(a)(2).
11 43. On December 12, 2021, Plaintiff received notice that Clarity and Cash Factory
12       investigated and reinvestigated Plaintiff’s dispute, as required under 15 U.S.C. §
13       1681i(a)(6).
14 44. A reasonable investigation by Clarity and Cash Factory would have determined
15       that they were reporting the above disputed information inaccurately.
16 45. Clarity and Cash Factory failed to review all relevant information provided by
17       Plaintiff in Plaintiff's dispute, as required by and in violation of 15 U.S.C. § 1681i
18       and 15 U.S.C. § 1681s-2(b), respectively.
19 46. Clarity and Cash Factory still reported that Plaintiff’s account was past due with
20       a charge of status of $1,195. This was inaccurate, misleading, and derogatory
21       because Plaintiff filed for bankruptcy on July 13, 2017, and Plaintiff received a
22       discharge on February 9, 2021.
23 47. In turn, Clarity re-reported the inaccurate information, thus violating its duty to
24       follow reasonable procedures to assure maximum possible accuracy under 15
25       U.S.C. § 1681e(b) when preparing a consumer report.
26 48. Clarity and Cash Factory, upon receipt of Plaintiff’s dispute, failed to conduct an
27       investigation or reinvestigation with respect to the disputed information as
         required by 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-2(b), respectively.
      _____________________
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 1 49. Due to Clarity and Cash Factory’s failure to reasonably investigate, they further
 2        failed to correct and update Plaintiff’s information as required by 15 U.S.C. §
 3        1681i and 15 U.S.C. § 1681s-2(b), thereby causing continued reporting of
 4        inaccurate information in violation of 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-
 5        2(b), respectively.
 6 50. Clarity and Cash Factory’s continued inaccurate, misleading, and derogatory
 7        reporting was knowing and willful, in light of their knowledge of the actual error.
 8        Plaintiff is, accordingly, eligible for statutory damages.
 9 51. Also, as a result of Clarity and Cash Factory’s continued inaccurate, misleading,
10        and derogatory reporting, Plaintiff has suffered actual damages, including
11        without limitation, fear of credit denials, out-of-pocket expenses in challenging
12        the inaccurate reporting, damage to Plaintiff’s creditworthiness, and emotional
13        distress.
14 52. By inaccurately reporting consumer information after notice and confirmation of
15        their errors, Clarity and Cash Factory failed to take the appropriate measures as
16        required under 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-2(b), respectively.
17                Clarity and Sky Trail Misreported Consumer Information
18                        and Failed to Investigate Plaintiff’s Dispute
19                              Re: Sky Trail Account No. ****4515
20 53. In Plaintiff’s consumer report from Clarity dated September 9, 2021, Clarity and
21        Sky Trail inaccurately reported that Plaintiff’s account was in collections with a
22        past due balance of $711. This was inaccurate, misleading, and derogatory
23        because Plaintiff filed for bankruptcy on July 13, 2017, and Plaintiff received a
24        discharge on February 9, 2021.
25 54. On November 1, 2021, Plaintiff disputed the inaccurate reporting pursuant to 15
26        U.S.C. § 1681i, by notifying Clarity, in writing, of the inaccurate, misleading,
27        and derogatory information.
     55. Specifically, Plaintiff sent a letter, certified, return receipt, to Clarity, requesting
      _____________________
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 1       the above inaccurate information be updated, modified, or corrected.
 2 56. Clarity was required to conduct a reinvestigation into the disputed information
 3       on Plaintiff’s consumer report pursuant to 15 U.S.C. §1681i.
 4 57. However, Plaintiff never received any notification from Clarity that Clarity and
 5       Sky Trail investigated and reinvestigated Plaintiff’s dispute, as required under 15
 6       U.S.C. § 1681i(a)(6).
 7 58. Specifically, Clarity completely failed to address Plaintiff’s dispute.
 8 59. A reasonable investigation by Clarity and Sky Trail would have determined that
 9       they were reporting the above disputed information inaccurately.
10 60. Clarity and Sky Trail failed to review all relevant information provided by
11       Plaintiff in Plaintiff's dispute, as required by and in violation of 15 U.S.C. § 1681i
12       and 15 U.S.C. § 1681s-2(b), respectively.
13 61. Upon information and belief, Clarity and Sky Trail continued to report the
14       inaccurate information.
15 62. In turn, Clarity continued to report the inaccurate information, thus violating its
16       duty to follow reasonable procedures to assure maximum possible accuracy under
17       15 U.S.C. § 1681e(b) when preparing a consumer report.
18 63. Clarity and Sky Trail, upon receipt of Plaintiff’s dispute, failed to conduct an
19       investigation or reinvestigation with respect to the disputed information as
20       required by 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-2(b), respectively.
21 64. Due to Clarity and Sky Trail’s failure to reasonably investigate, they further
22       failed to correct and update Plaintiff’s information as required by 15 U.S.C. §
23       1681i and 15 U.S.C. § 1681s-2(b), thereby causing continued reporting of
24       inaccurate information in violation of 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-
25       2(b), respectively.
26 65. Clarity and Sky Trail’s continued inaccurate, misleading, and derogatory
27       reporting was knowing and willful, in light of their knowledge of the actual error.
         Plaintiff is, accordingly, eligible for statutory damages.
      _____________________
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 1 66. Also, as a result of Clarity and Sky Trail’s continued inaccurate, misleading, and
 2       derogatory reporting, Plaintiff has suffered actual damages, including without
 3       limitation, fear of credit denials, out-of-pocket expenses in challenging the
 4       inaccurate reporting, damage to Plaintiff’s creditworthiness, and emotional
 5       distress.
 6 67. By inaccurately reporting consumer information after notice and confirmation of
 7       their errors, Clarity and Sky Trail failed to take the appropriate measures as
 8       required under 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-2(b), respectively.
 9              Clarity and Big Picture Misreported Consumer Information
10                           Re: Big Picture Account No. ****6079
11 68. In Plaintiff’s consumer report from Clarity dated September 9, 2021, Clarity and
12       Big Picture inaccurately reported that Plaintiff’s account had a charge-off status
13       of $1,469. This was inaccurate, misleading, and derogatory because Plaintiff filed
14       for bankruptcy on July 13, 2017, and Plaintiff received a discharge on February
15       9, 2021.
16 69. On November 1, Plaintiff disputed the inaccurate reporting pursuant to 15 U.S.C.
17       § 1681i, by notifying Clarity, in writing, of the inaccurate, misleading, and
18       derogatory information.
19 70. Specifically, Plaintiff sent a letter, certified, return receipt, to Clarity, requesting
20       the above inaccurate information be updated, modified, or corrected.
21 71. Clarity was required to conduct a reinvestigation into the disputed information
22       on Plaintiff’s consumer report pursuant to 15 U.S.C. §1681i.
23 72. Upon information and belief, Clarity timely notified Big Picture regarding
24       Plaintiff’s dispute, as required under 15 U.S.C. § 1681i(a)(2).
25 73. Upon information and belief, Clarity provided Big Picture with a notice regarding
26       Plaintiff’s dispute under 15 U.S.C. § 1681i(a)(5)(A).
27 74. Upon information and belief, Clarity provided all relevant information to Big
         Picture regarding Plaintiff’s dispute, as required under 15 U.S.C. § 1681i(a)(2).
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 1 75. On December 12, 2021, Plaintiff received notice that Clarity and Big Picture
 2       investigated and reinvestigated Plaintiff’s dispute, as required under 15 U.S.C. §
 3       1681i(a)(6).
 4 76. A reasonable investigation by Clarity and Big Picture would have determined
 5       that they were reporting the above disputed information inaccurately.
 6 77. Clarity and Big Picture failed to review all relevant information provided by
 7       Plaintiff in Plaintiff's dispute, as required by and in violation of 15 U.S.C. § 1681i
 8       and 15 U.S.C. § 1681s-2(b), respectively.
 9 78. Clarity and Big Picture still reported that Plaintiff’s account had a charge-off
10       status of $1,469. This was inaccurate, misleading, and derogatory because
11       Plaintiff filed for bankruptcy on July 13, 2017, and Plaintiff received a discharge
12       on February 9, 2021.
13 79. In turn, Clarity re-reported the inaccurate information, thus violating its duty to
14       follow reasonable procedures to assure maximum possible accuracy under 15
15       U.S.C. § 1681e(b) when preparing a consumer report.
16 80. Clarity and Big Picture, upon receipt of Plaintiff’s dispute, failed to conduct an
17       investigation or reinvestigation with respect to the disputed information as
18       required by 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-2(b), respectively.
19 81. Due to Clarity and Big Picture’s failure to reasonably investigate, they further
20       failed to correct and update Plaintiff’s information as required by 15 U.S.C. §
21       1681i and 15 U.S.C. § 1681s-2(b), thereby causing continued reporting of
22       inaccurate information in violation of 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-
23       2(b), respectively.
24 82. Clarity and Big Picture’s continued inaccurate, misleading, and derogatory
25       reporting was knowing and willful, in light of their knowledge of the actual error.
26       Plaintiff is, accordingly, eligible for statutory damages.
27 83. Also, as a result of Clarity and Big Picture’s continued inaccurate, misleading,
         and derogatory reporting, Plaintiff has suffered actual damages, including
      _____________________
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 1       without limitation, fear of credit denials, out-of-pocket expenses in challenging
 2       the inaccurate reporting, damage to Plaintiff’s creditworthiness, and emotional
 3       distress.
 4 84. By inaccurately reporting consumer information after notice and confirmation of
 5       their errors, Clarity and Big Picture failed to take the appropriate measures as
 6       required under 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-2(b), respectively.
 7              Clarity and North Star Misreported Consumer Information
 8                        and Failed to Investigate Plaintiff’s Dispute
 9                           Re: North Star Account No. ****7649
10 85. In Plaintiff’s consumer report from Clarity dated September 9, 2021, Clarity and
11       North Star inaccurately reported that Plaintiff’s account had a charge-off status
12       of $1,221. This was inaccurate, misleading, and derogatory because Plaintiff filed
13       for bankruptcy on July 13, 2017, and Plaintiff received a discharge on February
14       9, 2021.
15 86. On November 1, 2021, Plaintiff disputed the inaccurate reporting pursuant to 15
16       U.S.C. § 1681i, by notifying Clarity, in writing, of the inaccurate, misleading,
17       and derogatory information.
18 87. Specifically, Plaintiff sent a letter, certified, return receipt, to Clarity, requesting
19       the above inaccurate information be updated, modified, or corrected.
20 88. Clarity was required to conduct a reinvestigation into the disputed information
21       on Plaintiff’s consumer report pursuant to 15 U.S.C. §1681i.
22 89. However, Plaintiff never received any notification from Clarity that Clarity and
23       North Star investigated and reinvestigated Plaintiff’s dispute, as required under
24       15 U.S.C. § 1681i(a)(6).
25 90. Specifically, Clarity completely failed to address Plaintiff’s dispute.
26 91. A reasonable investigation by Clarity and North Star would have determined that
27       they were reporting the above disputed information inaccurately.
     92. Clarity and North Star failed to review all relevant information provided by
      _____________________
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 1       Plaintiff in Plaintiff's dispute, as required by and in violation of 15 U.S.C. § 1681i
 2       and 15 U.S.C. § 1681s-2(b), respectively.
 3 93. Upon information and belief, Clarity and North Star continued to report the
 4       inaccurate information.
 5 94. In turn, Clarity continued to report the inaccurate information, thus violating its
 6       duty to follow reasonable procedures to assure maximum possible accuracy under
 7       15 U.S.C. § 1681e(b) when preparing a consumer report.
 8 95. Clarity and North Star, upon receipt of Plaintiff’s dispute, failed to conduct an
 9       investigation or reinvestigation with respect to the disputed information as
10       required by 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-2(b), respectively.
11 96. Due to Clarity and North Star’s failure to reasonably investigate, they further
12       failed to correct and update Plaintiff’s information as required by 15 U.S.C. §
13       1681i and 15 U.S.C. § 1681s-2(b), thereby causing continued reporting of
14       inaccurate information in violation of 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-
15       2(b), respectively.
16 97. Clarity and North Star’s continued inaccurate, misleading, and derogatory
17       reporting was knowing and willful, in light of their knowledge of the actual error.
18       Plaintiff is, accordingly, eligible for statutory damages.
19 98. Also, as a result of Clarity and North Star’s continued inaccurate, misleading,
20       and derogatory reporting, Plaintiff has suffered actual damages, including
21       without limitation, fear of credit denials, out-of-pocket expenses in challenging
22       the inaccurate reporting, damage to Plaintiff’s creditworthiness, and emotional
23       distress.
24 99. By inaccurately reporting consumer information after notice and confirmation of
25       their errors, Clarity and North Star failed to take the appropriate measures as
26       required under 15 U.S.C. § 1681i and 15 U.S.C. § 1681s-2(b), respectively.
27


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 1                                    Plaintiff’s damages
 2 100. In addition to Plaintiff’s creditworthiness being negatively impacted, Plaintiff
 3       suffered emotional distress and mental anguish as a result of Defendants’ actions
 4       described herein. In addition, Plaintiff incurred out-of-pocket costs and time in
 5       attempts to dispute Defendants’ actions. Plaintiff further suffered humiliation and
 6       embarrassment.
 7              VIOLATION OF THE FAIR CREDIT REPORTING ACT
 8                                        15 U.S.C. § 1681
 9 101. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
10       as though fully stated herein.
11 102. The foregoing acts and omissions constitute numerous and multiple willful,
12       reckless, or negligent violations of the FCRA, including but not limited to each
13       and every one of the above-cited provisions of the FCRA, 15 U.S.C § 1681, et
14       seq.
15 103. As a result of each and every willful violation of the FCRA, Plaintiff is entitled
16       to actual damages as the Court may allow pursuant to 15 U.S.C. § 1681n(a)(1);
17       statutory damages pursuant to 15 U.S.C. § 1681n(a)(1); punitive damages as the
18       Court may allow pursuant to 15 U.S.C. § 1681n(a)(2); and reasonable attorney’s
19       fees and costs pursuant to 15 U.S.C. § 1681n(a)(3) from Defendants.
20 104. As a result of each and every negligent noncompliance of the FCRA, Plaintiff is
21       entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
22       1681o(a)(1); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §
23       1681o(a)(2) from Defendants.
24                                        Prayer for relief
25 105. Plaintiff prays that judgment be entered against Defendants, and Plaintiff be
26       awarded damages from Defendants, as follows:
27       ● An award of actual damages pursuant to 15 U.S.C. § 1681n(a)(1);
         ● An award of statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
      _____________________
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 1      ● An award of punitive damages as the Court may allow pursuant to 15 U.S.C.
 2         § 1681n(a)(2);
 3      ● An award of costs of litigation and reasonable attorney’s fees, pursuant to 15
 4         U.S.C. § 1681n(a)(3), and 15 U.S.C. § 1681(o)(a)(1); and
 5      ● Any other relief that this Court deems just and proper.
 6                                      Jury Demand
 7 106. Pursuant to the Seventh Amendment to the Constitution of the United States of
 8      America, Plaintiff is entitled to, and demands, a trial by jury.
 9      Dated: August 25, 2022.
10                                    Respectfully submitted,
11
12                                    KIND LAW
13
                                      /s/ Michael Kind         .
14                                    Michael Kind, Esq.
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                                      Las Vegas, Nevada 89123
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17                                    FREEDOM LAW FIRM
18
                                      /s/ George Haines
19                                    George Haines, Esq.
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21                                    Las Vegas, Nevada 89123
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     COMPLAINT                               - 15 -
